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IN THE UNITED STATES DISTRICT COURT FOR
THE NORTHERN DISTRICT OF GEORGIA

ATLANTA DIVISION
SOUTHWIRE COMPANY, LLC, )
)
Plaintiff, }
) Civil Action No. 1:15-CV-00693-WSD
v. )
)
CME WIRE & CABLE, INC., ) Jury Trial Demanded
)
Defendant. )

NOTICE OF DISMISSAL WITHOUT PREJUDICE

Pursuant to Rule 41(a)(1)(A)(), Fed. R. Civ. P., Plaintiff Southwire Company, LLC,
through its undersigned counsel of record, submits this notice dismissing this action, and all
claims and requests for relief asserted therein, without prejudice, with each party to bear its
own attorneys’ fees and costs. Southwire submits that neither an answer nor a motion for

summary judgment has been served in connection with this action.

DATE: April 23, 2015

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